        Case 1:21-cr-00128-RC          Document 383         Filed 12/28/24      Page 1 of 2




                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .



           MOTION TO TRAVEL TO THE INAUGURATION


       On March 5, 2021, the Court entered an order setting conditions of release (ECF No. 16),

that prohibited me, the defendant, from traveling to the District of Columbia except for Court.

For the last four years, I have followed these conditions. I have also received permission from

the Court to travel to the District of Columbia on two occasions, and did so without incident. The

first was in May 2023 for the purposes of viewing January 6 CCTV at the Congressional access

terminals in a Congressional building. The second was to take a court-ordered evidentiary tour of

the United States Capitol in October of 2024, and to observe court proceedings in other cases.

       I now move the Court for permission to travel to Washington, D.C. for the purpose of

attending the Presidential Inauguration on January 20, 2025. Initially, I had declined an invitation

to attend the inauguration (since I don’t enjoy being in Washington), however, I have now been

asked a second time, and I believe it would be inappropriate for me to turn this request down.

       I do not anticipate being in Washington before January 19, or after January 21. As with

all my previous trips to D.C., I will be entirely peaceful. Since arranging travel is time-sensitive,

I respectfully move the Court to make an expedited ruling.
   Case 1:21-cr-00128-RC          Document 383         Filed 12/28/24      Page 2 of 2




   Respectfully submitted to the court,

                                                 By: William Pope

                                                     /s/

                                                 William Pope
                                                 Pro Se Officer of the Court
                                                 Topeka, Kansas




                                     Certificate of Service
I certify that a copy of this was filed electronically for all parties on December 28, 2024.

                                          /s/
                             William Alexander Pope, Pro Se
